                               United States District Court
                                Western District of Texas
                                    Austin Division

 Leila Green Little, et al.,
    Plaintiffs,
 v.
 Llano County, et al.,
                                                      Case No. 1:22-cv-424-RP
    Defendants,
 and
 �e State of Texas,
    Intervenor-Defendant.

                     State of Texas’s Notice of Withdrawal Of
                                Motion to Intervene

   The State of Texas hereby withdraws its Motion to Intervene (Dkt. No. 41),
which is currently pending. The State no longer seeks to be added to this case as an

intervenor-defendant.


 Dated August 1, 2022.                        Respectfully submitted.
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                               Certificate of Service
  I certify that on August 1, 2022, this motion was filed with the Court through its
CM/ECF system, which automatically serves all counsel of record.


                                          /s/ Landon A. Wade
                                          Assistant Attorney General
